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EXHIBIT 7
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Manuel P. Asensio
400 East 54" Street, Apartment 29B
New York, New York 10022
mpa@asensio.com
[212] 702-8801

OFFICIAL COMPLAINT

Delivered by Hand and email
IG@nycourts.gov

May 26, 2017

Sherrill Spatz

Inspector General’s Office

Office of Court Administration [“OCA”]
New York Unified Court System

25 Beaver Street

New York, New York 10004

Re: Notice of Section 1983 Claim and Complaint against Public Safety Court
Officers in Judge Adetokunbo O. Fasanya’ s courtroom in Part 5th, Fourth Floor, of
New York County Family Court during proceeding cases involved titled Asensio vs.
Bosak, Docket V-43839-13/13A and V-38917-15/15A on March 13", 2017.

Dear Inspector Spatz:

This is complaint against Major Micheal DeMarco, Lt. Chris Mangan and Sergeant
Ricciardi for harassment, intimidation to create a fraudulent record of my being
arrest that has affected my rights a fair hearing and the right to access fair
administration of justice.

It is a Notice of Section 1983 with the intent to upon your cooperation to avoid
further harm to my rights and to provide you with an incentive to take this matter
seriously. I trust it can be resolved amicably and properly, in a reasonable amount
of time to avoid further harm.

Attached hereto is a copy of a filing “In the Matter of the Judicial Conduct Complaint
in the Office of Court Administration titled Request for an Apology from Subject

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Judge” filed and sworn to on March 17, 2017 against Judge Fasanya. The complaint
shows how Court Officers knowingly engaged in deliberate set of actions to prevent
me from being heard and fraudulently claim I was being disruptive. The actions were
planned, designed, coordinated and executed to improperly interfere’ with judicial
proceedings and create a false record. The Court Officers’ purpose was to participate
in the creation of false court records to use against me in a final judgment.

I am the Plaintiff-Father in the above referenced New York Family County cases
over which Judge Fasanya was formerly presiding. | am copying Chief Judge Janet
Di Fiore who is statutorily responsible for the proceedings at the OCA related to the
above matters concerning Judge Fasanya’s wrongdoings. The OCA’s refusal to
investigate [without review based on policy] credible, fact-based documented
reports of the conscious wrongdoings by Judge Fasanya has exacerbated this matter.
However, this complaint relates to the OCA’s Court Officers who are non-judicial
state employees.

This is complaint is against certain Public Safety Court Officers employed at the
New York County Family Court located at 60 Lafayette Street and their immediate
supervisors. Lt. Rabinowitz in the office of the Chief of the Department of Public
Safety advised me that Court Officer Major Michael DeMarco is in charge of the
safety personnel in this court building. I respectfully request you provide me with
the contact information of Major DeMarco’s supervisor and further request that you
include Major DeMarco in this complaint.

On March 13, 2017 Judge Fasanya! had earlier relieved me of any obligation to
appear before him. I withdrew from his courtroom due to his violations of Judiciary
Law 100 including his use of Court Officers to protect his holding staged
proceedings and his yelling and screaming done to destroy any possibility of creating
a meaningful, trustworthy record.

The “Request for an apology from the subject judge” of March 17, 2017. It
evidences the incidents that occurred on March 13, 2017. This involved no less than
ten court officers that deliberately engaged in an unprovoked, unreasonable and
unnecessary action that was organized and planned long before I appeared to deny

 

‘On April 15 2015 I withdrew my petitions and related applications then before Judge Fasanya as a direct result of
my having witnessed his conscious wrongdoings. Judge Fasanya refused to accept my withdrawal. Judge Fasanya
confirmed in the November 2016 that there were no actions pending against me. Finally, on November 4, 2016, Judge
Fasanya confirmed and approved my withdrawal and I withdrew. Judge Fasanya summoned to court on March 13,
2017. Events on March 13, 2017 generated the need for this complaint.
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me a hearing and force me to remain in silence in the Court. The Judge’s purpose
was to prevent me from entering my opposition to a summons to compel my
appearance. The second purpose was to create a record that I had acted
contemptuously. As the Request shows, the Court Officers and the judge engaged in
a scheme to intimate me and force me to apologize, which should explain the title of
my filing. The final purpose was to deny me the right to by heard, and to intimidate
me.

On March 13, 2017, Judge Fasanya summoned me to court despite his having
authorized my withdrawal. After the incident, he again confirmed my withdrawal.
Based upon the events I witnessed, the Court Officer’s conduct on March 13" was
pre-planned and executed with a military-style form. It included denying me a call
to my attorney and assigning to me an attorney on call against my will. The assigned
attorney as illustrated in the attached complaint attempted to frighten me into
apologizing to the judge who would use the record against me.

The Court Officers’ objective was not to secure peace and calm or respect for law.
It was the opposite, an act without provocation in an altered stage to create the
illusion that I needed to be restrained. They acted on cue in an harassing, frightening
and emotionally disturbing way to agitate me. Based on my observations, the Public
Safety Court Officers trained to participate in these deliberate and premediated
actions in peaceful child custody cases intimate fathers and prevent them from
pursuing their most precious right, their rights to raise their children.

J cannot continue to expose my person to these Public Safety Court Officers without
independent informed understanding supervision. They have made themselves
parties and witnesses to these judicial proceedings and they cannot claim that they
do not have knowledge about the importance and significance of their misconduct
to justice.

Further, the Court Officer’s deliberate personal role in Judge Fasanya’s deliberate
and malicious non-judicial actions deprive me of my right and are prejudicial. A
full report of the events starts with identification of all of the Court Officers involved
and allowing me to interview them.

This is a demand for information in a Section 1983 claim involving the deprivation
of a right secured by the Constitution and laws of the United States. Court Officers
deprived me of my rights under the color of state law. See Gomez v. Toledo, 446
U.S. 635, 640, 100 S.Ct. 1920, 64 L.Ed.2d 572 (1980); Feingold v. New York, 366
F.3d 138, 159 (2d Cir.2004) (citing West v. Atkins, 487 U.S. 42, 48, 108 S.Ct. 2250,

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101 L.Ed.2d 40 (1988)). The Court Officers were personally involved, "personal
involvement of defendants in alleged constitutional deprivations is a prerequisite to
an award of damages under § 1983." Back v. Hastings On Hudson Union Free Sch.
Dist.,365 F.3d 107, 122 (2d Cir.2004) (quoting McKinnon v. Patterson,568 F.2d
930, 934 (2d Cir.1977)).

I request a meeting with you to address the urgent issue of the Public Safety Court
Officers’ misconduct in New York County Family Court; matters need to be
resolved with independent informed supervision.

I look forward to your prompt response. Thank you.

Sincerely,

S10

cc: Janet DiFiore,
Chief Judge

Lawrence K. Marks,
Chief Administrative
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Manuel P. Asensio
400 East 54" Street, Apartment 29B
New York, New York 10022
mpa@asensio.com
[212] 702-8801

VERIFICATION OF OFFICIAL COMPLAINT

I swear that I am Manuel P. Asensio, the complainant in the attached “Notice of
Section 1983 Claim and Complaint against Public Safety Court Officers in Judge
Adetokunbo O. Fasanya’ s courtroom in Part Sth, Fourth Floor, of New York County
Family Court during proceeding cases involved titled Asensio vs. Bosak, Docket V-
43839-13/13A and V-38917-15/15A on March 13", 2017” to Sherrill Spatz of the
Inspector General of Office of Court Administration for the New York Unified Court
System located at 25 Beaver Street, New York, New York 10004 that was delivered
by Hand and email to IG@nycourts.gov on May 26, 2017.

I swear the fact statements contained therein are true and correct and that any
statement based on information and belief is true and complete to the best of my
knowledge.

I do so swear:

Ppl fh four

Manuel P. ASensio

    
 
    
   
  

  
 

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MUELT RICHMA
wotsry Public, State of New York
No. 01R163391 &7 mniy
lified in Kings
Commission expires March 28, 2020

 
  
    

   

  

STATE OF NEW YORK )
) ss:
COUNTY OF NEW YORK _ )

Sworn ee the 5" day of October 2017

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Notary Public
